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REPORTING OFFICER CopE NUMBER | DATE TIME UCR |CFS NUMBER
oo el Original Report
G. Wright 494 1/14/22 0930 [1] Supplemental Report | [[] -1569
Event NUMBER | EVENT CODE Event DESCRIPTION Event LOCATION
Trespassing 1111 E. Broad St. Richmond, V.A. 23219

On Friday. January 14, 2022 at approximately 0930 hours, I, Officer Wright as well as 1° Sergeant (Sgt.) Muhlheim
responded to the Patrick Henry Building (PHB/1111 E. Broad St. Richmond, VA. 23219) in reterence to an
individual who was protesting, without a permit, just outside the PHB on state property that was refusing to leave
and was considered to be a threat tu our state employees who worked in the PHB. Ist Sgt. Muhlheim and myself
arrived on scene and spoke with the individual. Through previous encounters, we knew that the individual that was
protesting outside the PHB is Ronald Layne Hedlund. 1“ Sgt. Muhlheim explained to Mr. Hedlund that he does not
have a permit to be outside the PHB to protest and that the state employees felt threatened by him. 1*' Sgt. then gave
him a printed out/hard copy of the Department of General Services (DGS) rules and regulations and asked for Mr.
Hedlund to please leave. 1° Sgt. also notified Mr. Hedlund that if he did not leave or refused to leave then he would
be taken into custody and be transported to the Richmond Justice Center. Mr. Hedlund said, "1 am going to leave due
to the threat of being arrested for trespassing.” As Mr. Hedlund was leaving, myself and 1*t Sgt. Muhlheim continued
to follow him to make sure he was escorted off state property. As Mr. Hedlund was leaving, he continued to ask
questions about why he can not be there on state property and that he deserves to be on state property to exercise his
1st Amendment. 1S Sgt. Muhlheim kept telling him that he has the rules and regulations in his hands and that all of
his questions would be answered by reading the rules and regulations and by also going on the internet and searching
for the Department of General Services that has everything else he asked for. Mr. Hedlund continued to ask us
questions and we continued to tell Mr. Hedlund that he needed to leave. Mr. Hedlund then stopped at the side of the
PHB on Governor St. and threw down his sign that read "FUCK GOVERNOR COONFACE" and said "Arrest me."
1s\ Set. Muhlheim then grabbed Mr. Hedlund's phone and placed it on the ground and continued to place his hands
behind his back while I placed Mr. Hedlund in custody with the handcuffs double locked to the rear. To confirm it
was Mr. Hedlund that we placed under arrest, 18' Sgt. Muhlheim searched his person incident to arrest, which he

« ~s back with negative results, and retreived his license and ran his information through dispatch. Once his
iniormation was recevided by dispatch, his checks came back cleared. I then walked Mr. Hedlund back to my patrol
vehicle and had Officer Enz search the vehicle before transporting Mr. Hedlund. Officer Hedlund came back with
inegative results and I then placed Mr. Hedlund in my patrol vehicle. Officer Enz and myself then transported Mr.
‘Hedlund to the Richmond Justice Center, after retreiving his criminal history from our headquarters. When we
arrived at the Richmond Justice Center, | had Mr. Hedlund step out of the vehicle and | searched the vehicle and had
negative results. Myself and Officer Enz then went before the magistrate to obtain a misdemeanor warrant for
trespassing. Before leaving the Richmond Justice Center, | barred Mr. Hedlund from being on any state property that
was owned by the Department of General Services and he was only allowed on the property if he had a permit and
was authorized by the Department of General Services. After he understood the barrment notice | read to him and
finished signing it, Mr. Hedlund was turned over to the Richmond Sheriff's Department and myself and Officer Enz
cleared from the Richmond Justice Center at approximately 1132 hours.

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